
664 S.E.2d 313 (2008)
STATE of North Carolina
v.
Temetria Shatorie DAVIS.
No. 125P08.
Supreme Court of North Carolina.
June 11, 2008.
Kristen L. Todd, Assistant Appellate Defender, for Davis.
Lisa C. Glover, Assistant Attorney General, C. Colon Willoughby, Jr., District Attorney, for State of NC.
Prior report: ___ N.C.App. ___, 656 S.E.2d 632.

ORDER
Upon consideration of the petition filed by Defendant on the 20th day of March 2008 in this matter for a writ of certiorari to review the decision of the North Carolina Court of Appeals, the following order was entered and is hereby certified to the North Carolina Court of Appeals:
"Denied by order of the Court in conference, this the 11th day of June 2008."
